                                              Emma Gilmore
                                                    Partner

                                                                                        May 29, 2024
VIA ECF

The Honorable Edward R. Korman
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     Patel v. Koninklijke Philips N.V., et al., No. 21-cv-4606-ERK-MMH

Dear Judge Korman:

       We represent Lead Plaintiff Richard Sun and Plaintiff Subhash Patel (“Plaintiffs”) in the
above-referenced action. We write to inform the Court that, as reported by the Pittsburgh Post-
Gazette, the U.S. Securities and Exchange Commission launched an investigation into Philips
Respironics, “focus[ing] on whether [the] global company properly alerted investors to breathing
machine dangers.” Reportedly, the “SEC is seeking information about the inner workings of the
company—including scientific tests of the flawed devices—and the steps it took to inform
investors who stood to lose billions of dollars . . . .” The article is attached as Exhibit A.

        The Court may take judicial notice of news articles reporting government investigations.
In re Am. Funds Sec. Litig., 556 F. Supp. 2d 1100, 1105-07 (C.D. Cal. 2008) (taking judicial notice
of news articles reporting an SEC investigation), vacated and remanded on other grounds, 395 F.
App'x 485 (9th Cir. 2010); In re Smith Barney Transfer Agent Litig., 765 F. Supp. 2d 391, 397
(S.D.N.Y. 2011) (“A court may also take judicial notice of news articles discussing the conduct
raised in the complaint.”).

                                                    Respectfully submitted,

                                                    By: /s/ Emma Gilmore
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                                                    Lead Counsel for Plaintiffs & the Proposed Class
cc:    All counsel of record (via ECF)


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